Case 8-17-77510-ast

  

Deblor 1

 

Deblor 2

Fill in this information to identify your`case:

w
Flrst Name

DOC 28 Filed 02/28/18 Entel’ed 02/28/18 15247:02

     
  

Mlddle Name Last Name

     
   

 

  

  

(if known)

(Spouse. if H|ing) First Name

Uniled States Bankruptcy Court for the: EA§TERN Qj§mg` gt N§w Yo¢
Case number 8~17-77§1§-§§1

Mddle Name Lasl Name

    
    

 

 

Oi°l"lcial Form 427
Cover Sheet for Reaffirmation Agreement

12115

Anyone who is a party to a reaffirmation agreement may nil out and file this form. Fi|l it out completely, attach it to the reaffirmation agreement
and file the documents within the time set under Bankruptcy Rule 4008.

 

131 b Explain the Repayment Terms of the ReafErmation Agreement

 

1.Who is the creditor?

Santander an§gmer U§A lng, dba Chg¢sler Cagital as §ervioer Qr QQAP Auto Lease gtd.

Name of the creditor

 

2.How much is the debt?

On the date that the bankruptcy case is filed
termination gf the Lease.

To be paid under the reathnnation agreement §1§‘629.76 glus all amounts due under the Lease at the
termination of the Le§§§

* per month for * months (if fixed interest rate)

‘ monthly installments in the amount of $613.43 (future payment amount under the Lease may be different)
commenan on 1/30/2018 and continuing on the same day of each succeeding month until the end of Lease term
(9/30/2020) plus all amounts due under the Lease at the termination of the Lease

1962 .7 lusal| m untsdueun r eL aseatthe

 

3.What is the Annua|

NIA §

 

 

assert that the debt is
nondischargeable?

B f r h bank tc led
Percentage Rate (APR) e 0 et e mp y case Was n
of interest? (See Under the reaffirmation agreement MA [] Fixecl rate
Bankruptcy Code |] Adjustable rate
§524(k)(3)(E)-)
4,Does collateral secure [ ] No
the debt?
{x] Yes. Describe the collateral Leas§d 17 JEEP W&§NGLER VlN: 1C45§WE§2HL647699
Current market value § 35‘7Q0.00
5.Does the creditor [x] NO

[ ] Ves.Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable

 

6. Using information from

 

 

 

 

‘ and ,. ,_ “ 4 on " * ” ‘ land d income and expenses stated on the reamnnation agreement
Schedule l: Your v
Income (Officia| Form ea. Combined monthly income from 5 ` 2 Ge.lvionth|y income from all sources $ Q 353 ‘L§
106|) and Schedule J: line 12 of Schedule l ‘ after payroll deductions `
Your Expenses (Official _
pmm man fm in the 6b. Monthly expenses from line 22c of -- 3 l 2 OZ"]`C‘Z Sf. Monthly expenses - 5 , t fl zq.\)¢¢)
’ Schedule J
amounts
6c. Monlhly payments on all ~ $ / Bg.Monthly payments on all - s c 21 § d q 3
reathmied debts not listed on reaftirmed debts not included in
Schedule J monthly expenses
Bd. Scheduled net monthly income .. s g |Z 307 Sh.Present net monthly income v 2 13 z 437
Sublract line 6b and 6c from 6a. Subtract lines 6f and 69 from Ge. L_~
lt the total is less than O, put the lf the total is less than 0. put the
number in brackets. number in brackets.
Oflicial Form 427 Cover Sheet for Reaftirmatlon Agreement page 1

52862

 

Case 8-17-77510-ast

miami 1 M_S
m N:rw

DOC 28 Filed 02/28/18 Entel’ed 02/28/18 15247:02

men

 

 

 

 

 

 

 

 

 

 

~ (dvmmii§~t?~?mo§g__

MML?Namo eastman
vnaeemmmmm' “' n
mt¥ma€amd%e WN°
dawson .' Ym.wwemwwmmammmwm
BA&U [}Ne
ammonsomims¢h " ab _ . _
mem g\,;im.zxpimmwmmmwmmmmio \ng__i.g_ggls Kea_§h,_rmg._§j¢»i,

()wi_menj'. {iF does no'l'.

eaawmtmmiily § , ms v
mewaaeshtess ` “
MB?

be¥ea Ammmwd%wdmpmaee(urmewcmoimrlaecremmcn]
&xptim

hwwdemrwmmowmmmmmmmmwwymw%@ewem
watersth

__l>_ebtz>r*s Qa£e,n;ts built ____f)_a,q for atlas
_M_

 

§t€i. Dsbtor‘a midwest

 

§

 

 

 

md ,My,s =iomdyttatmhmelmionmlmes?~$mmamoonw.
nanyensrieion€tnec?~aw
Vas,thodammstm /""""~. _`_
here
ltanm»mwersontims?'$ x }¢m;;;; , §§ g , x
“"’“°’9°”°“"‘ Siarms=emmt emmaoeewziaommmwawemg
'§wwmwM {§No
UWMW¥Q .
maximum wise mwmmmmmammwwmmwsmmmwmwnwm¢
tdc
o il
w]\'es

 

 

 

 

031th Form 42?

 

Wisammmm¢mmmmdimammwwmme
‘ wmmt.

L/%’//

MM!UDIYYYY

DS£B

 

 

Ci"itsnk cruel

§ § meant w Bet:itzar‘s my
fiat mem or Craditm's Aztorney

wer&wd los Mmrmmc¢l aith

 

 

 

 

CaS€ 8-17-77510-38'[ DOC 28 Filed 02/28/18 Entered 02/28/18 15247:02

 

nz-‘oo.‘\/B .-\LT (F&)I'|\l 1400.--\/'3 i-\LT) (12/15) y Presumption of Undue Ha rdship

D No Presumption of Undue Hardsliip
(Check box as directed in sz D: Debtor`s Statemcnt
in Support of Reaffirmation Azreement.)

 

 

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTR,ICT OF NE‘/V YORK

ln re: Case No. 8-17-77510~ast

Brian Ot'sie, Chapter 7
Debtor(s)

REAFFIRMATION AGREEMENT

[Indicate all documents included in //11'5 filing by checking each applicable bo.\'.]

[x] Part A: Disclosures. lnstructioris, and [x] Pzirt D: D€btor's Statemeut in Support of
Notice to Debtor (Pages l - 5`) Reaff“irmation Agreement
[x] Part B: Reat`firination Agreement [ ] Part E: Motion for Court Approval

[x] qut C: Ccitification by Debtor`s Attomey

[Nl)tc: Complele Pcirt E only _t.'f debtor was not represented by an attorney during
the course of negotiating this agreement N`ote also: .tf_vozl complete Part` E` you must
prepare und_)‘ile Form 2-¢()6`.4LT - Order on Req#irmm‘ion Ak_ een-ient.]

Name of Creditor: Santander Consumcr USA Inc. dba Chrvsler Cagital as servicer for

CCAP Auto Lense Ltd.

E [Chec'k this box ij Creditor is a Credit Union as defined in §19(b)( l)(a)(iv) of the
Federal Reserve Act

`PART A: D.lSCLOSURE STATEM.ENT, lNSTRUCTIONS AND NOTICE TO DEBTOR
'l. Dl`SCLOS`URE STATEMENT
Before Agl'ec'ing m Reaj]irm a Debt, Review These Importaut Disclosures:

SUMMARY O.F REAFF[RMATION AGREEMENT
'l`his Summary is made pursuant to the requirements of the Bank:ruptcy Code.

DATE O.F DISCLOSURE STATEMENT: 12/05/2017

AMOUNT lREAFFIRMED

 

'l`he amount of debt you have agreed to reaffirm:

*Plus all amounts due linder the l.ease at the termination of the Lease.
____-_____________

Tlte amount of debt you have agreed to reaffirm includes all fees uml costs (ifuny) tlmt have
accrued us of the date of this disclosure Your credit agreement may obligate you to pay additional amounts
which may come due after the date of this disclosure Consult your credit agreement

319,629.76 *

CaS€ 8-17-77510-&8'[ DOC 28 Filed 02/28/18 Entered 02/28/18 15247:02

BZ-'lllll.A-B .~\l..‘l`(l~`onn 2400.~\8 .'-\l..'l`) (l2rl$l 2
S- l 7-775 lO-t\st -` XX,\`XSSG$ »" 52861

ANNUAL PERCENTAGE RATE
[`I `/1€ annual percentage rate can be disclosed in different wa) 's, depending on the Ijvpe ofdebt;]

a. .If the debt is an extension of "crcdit" under an ""open end credit plan_."" as those terms are
defined in §103 of the 'l`ruth in lending Act, such as a credit card, the creditor may disclose the
annual percentage rate shown in (i) below or, to the extent this rate is not readily available or not
applicable, the simple interest rate shown in (ii) below, or both.

(i) 'l`he An.nual Percentage Rate disclosed, or that would have been disclosed to the debtor in
the most recent periodic statement prior to entering into the reaffirmation agreement
described in Part B below or, if no such periodic statement was given to the debtor during the
prior six months, the annual percentage rate as it would have been so disclosed at the time of
the disclosure statement; %.

~ And/Or --

(ii) 'l`hc simple interest rate applicable to the amount reaffirmed as oi`the date this disclosure
statement is given to the debtor: %. Ii` diti`erent simple interest rates apply to different
balances included in the amount reaffirmed, the amount of each balance and the rate
applicable to it are:

3 @ %;
$ @ %;
$ @ %.

b. If the debt is an extension of credit other than under an open end credit plan, the creditor
may disclose the annual percentage rate shown in (i) below or, to the extent this rate is not readily
available or not applicable, the simple interest rate shown in (ii) below, or both.

“‘ No interest rate under the Lease

(i) 'Ihe Annual Percentage Rate under §lZS(a)(4) o'l` the Truth in Lending Act, as disclosed
to the debtor in the most recent disclosure statement given to the debtor prior to entering into
the reat"iinnation agreement with respect to the debt or, il` no such disclosure statement was
given to the debtor, the annual percentage rate as it would have been so disclosed:

_ And/Or ~
(ii) 'l`he simple interest rate applicable to tlie amount reaffirmed as of the date this disclosure

statement is given to the debtor: %. If different simple interest rates apply to different
balances included in the amount reaft`mned,

CaS€ 8-17-77510-38'[ DOC 28 Filed 02/28/18 Entet’ed 02/28/18 15247:02

nz~n)t)..\_»-'B _.\L'i‘ irwin 2400,~\~'3 A t.'l`) ttz.fisi 3
s- l 7-775 to-ast .\’x\'xsst>s z 52862
the amount of each balance and the rate applicable to it are:

5 FL" %;
$ @ %;
$ @ %.

e. lt` the underlying debt transaction was disclosed as a variable rate transaction on the most
recent disclosure given under the Truth in Lending Act:

'I`he interest rate on your loan may be a variable interest rate which changes from time to
time. so that the annual percentage rate disclosed here may be higher or lower.

d. lt` the reaffirmed debt is secured by a security interest or lien, which has not been waived
or detennined to be void by a final order of the court, the following items or types of items ot` the
debtor"s goods or property remain subject to such security interest or lien iu connection \\-‘itli the debt
or debts being reaffirmed in the reaftinnatiou agreement described in Part B.

lteni or 'I`ype ot` Item Original Purchase Price or Original Amount ot` Loau

* Leased item: 17 JEE`[’ WRANGLER $46,456.56
VlN: lC4BJWlE G2 HL647699

(')Q. rio/wl -~~ .»lt l/1e election oft/nl credito/3 a repayment schedule using one or a combination ofth
following may be pt'o\>ic/ec{.'

Repavment Schedule:

Your first payment in the amount of $ is due on (date), but the future
payment amount may be di fferent. Consult your reaffirmation agreement or credit agreement, as
applicable

__ Or__

Your payment schedule will be: _ (number) payments in the amount of $ each,
payable (monthly, annually, weekly, etc.) on the (day) of each (week, month, etc.),
unless altered later by mutual agreement in writing.

_ ()/'--

A reasonably specific description of the debtor`s repayment obligations to the extent known by the
creditor or creditor's representative

monthly installments in the amount of $613.43 (future payment amount under the
Leasc may be d'iffcrent) commencing on 1/30/2018 and continuing on the same day of
each succeeding month until the end of Lease term (9/30/2020) plus all amounts due
under the Lease at the termination of the Lease.

 

CaS€ 8-17-77510-&8'[ DOC 28 Filed 02/28/18 Entet’ed 02/28/18 15247:02

B240{).»'\-'B )\ L,T (l~'orni 240().1\.'8 ALT) (IZ.¢'lS) 4
8-|7~775 l()-a.n f XX.XX8363 :" 52862

2. lNSTRUCTIO`NS AND NOTIC.E TO DEBTOR

Rea ffirming a debt is a serious financial decision. The law requires you to take certain
steps to make sure the decision is in your best interest. If these steps are not completed, the
reaffirmation agreement is not effective, even though you have signed it.

l. Reacl the disclosures in this Part A carefully. Consider the decision to reaffirm carefully.
Then, if you want to reaffirm, sign the reaffirmation agreement in Part B.

2. Complete and sign Part D and be sure you can afford to make the payments you are
agreeing to make and have received a copy of the disclosure statement and a completed and signed
reaffirmation agreement.

3. ll` you are represented by an attorney during the negotiation of your reaffirmation
agreement, the attomey must have signed the certification in Part C.

4. lt` you are not represented by an attorney during the negotiation of your reaftinuation
agreement, you must have completed and signed Part E.

5. The original of this disclosure must be filed with the court by you or your creditor. If a
separate reaffi rmation agreement (other than the one in Part B) has been signed, it must be attached

6. vIf the creditor is not a Credit Union and you were represented by an attorney during the
negotiation of your reaftinna`rion agreement, your reaffirmation agreement becomes effective upon
filing with the court unless they reaffirmation is presumed to be an undue hardship as explained in Part
D. l.t` the creditor is a Credit Union and you were represented by an attorney during the negotiation of
your reaffirmation agreement, your reaffirmation agreement becomes effective upon filing with the
court.

 

 

7. if you were not represented by an attorney during the negotiation of your reaffirmation
agreement, it will not be effective unless the court approves it. The court will notify you and the
creditor of the hearing on you reaffirmation agreement You must attend this hearing in bankruptcy
court where tlie_iudge will review your reaffirmation agreemeut. The bankruptcy court must approve
your reaffirmation agreement as consistent with your best interests, except that no court approval is
required if your reaffirmation agreement is for a consumer debt secured by a mortgage, deed of trust,
security deed, or other lien on your real property, like your horne.

CaS€ 8-17-77510-38'[ DOC 28 Filed 02/28/18 Entered 02/28/18 15247:02

Bl-lCK)/k'l'! .~-\l.T (For'm 240().~\'8 .‘\LT) (ll"l$) 5
8-!7~775 lO-ast ¢" XXXX8363 ? 52862

Y'OUR R.ICHT TO RESC[ND (CANCEL) YOUR REAFFIRMAT!()N AGREEMENT

You may rescind (cancel') your reaffirmation agreement at any time before the bankruptcy
court enters a discharge order, or before the expiration of the 60-day period that begins on the date
your reaffirmation agreement is filed with the court, whichever occurs later. To rescind (cancel) your
reaffirmation a greement, you must notify the creditor that your reaffirmation agreement is rescinded
(or canceled`,).

Frequently Asked Questions:

What are your obligations if vou reaffirm the debt'? A reaffirmed debt remains your personal
legal obligation lt is not discharged in your bankruptcy case. That means that if you default on your
reaffirmed debt after your bankruptcy case is over, your creditor may be able to take your property or
your wages Other'wise, your obligations will be determined by the reaffirmation agreement which
may have changed the terms of the original agreement For example, if you are reaffirming an open
end credit agreement, the creditor may be permitted by that agreement or applicable law to change the
terms of that agreement in the future under certain conditionsl

Are vou required to enter into a reaffirmation agy§ement by any law‘? No, you are not

required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be
sure you can afford the payments you agree to make.

What if your creditor has a securitv interest or lien‘? Your bankruptcy discharge does not
eliminate an_\' lien on your propert_\.'. A "licn"’ is often referred to as a security interest, deed of trust,
mortgage or security deed. Even if you do not reaffirm and your personal liability on the debt is
discharged, because of the lien your creditor may still have the right to take the property securing the
lien if you do not pay the debt or default on it. If_` the lien is on an item of personal property that is
exempt under your State`s law or that the trustee has abandoned, you may be able to redeem the item
rather than reaffirm the debt. 'l`o redeem, you make a single payment to the creditor equal to the
amount of the allowed secured claim, as agreed by the parties or determined by the court.

NOTE: thn this disclosure refers to what a creditor "may” do. it does not use the word
"may" to give the creditor specific permissionl The word "'rnay'" is used to tell you what
might occur if the law permits the creditor to take the action. If you have questions about
your reaffirming a debt or what the law requires, consult with the attorney who helped you
negotiate this agreement reaffirming a debt. lf you don’t have an attorney helping your the
judge will explain the effect of your reaffirming a debt when the hearing on the reaffirmation
agreement is held.

CaS€ 8-17-77510-38'[ DOC 28 Filed 02/28/18 Entered 02/28/18 15247:02

minn sss sme zacsv.»va Ax.‘x‘z ;x;;‘ 1 53 6
m z»'r?sxaaa:- :@mn:sssz swan

FAR'!' ;B: RI"AFE!RHA"HON AGREEMENT.
§ {w_) ag:ac so manim; usc denis arising maier the cmdix wausau described beams
i. Brie[ dmdpticm af the audit agmctm'm: fm dowd 06538¢2§)!7

2, msmmioa of any changes la aba credit ag;ecnm mdc as am u£ das Mmmwam: Sec ?an A: Disc!nmrc Sia¢msmt
far Mmeed amount and payment terms Unh:ss mismanaged in this reaffirmation WUI fined reaf¥irax aff other
ms and usn&wous aim await agreesan m changesm the credit agreement command in thismMrmation zang wi££
am he effective if this Mnnmiaa agreement is am enfan mar tva ezpi~mian uf the rmiasian varied des§ mem
mm sewer ways their accornc)s. use was made any ahmad w nw summation means wm raw ar wayman mms set
forth in the original remirma!iua agreement proposed by Craiiwr. “i‘iie am m that amy changes made by be§smx(s), their
ammwys wang mine origias§ sgrwumsw vs deimrshaunetbemfamahnaawsshc€maampimwimnm w
any proposed change m the mammmion annum mem raw or mm mem ms fn ibeme such dam ana ma without
(‘rcdxtur" s indian she ma§imama agreement shui¥ ve voidahie by the Crmimr at any dam Mm<§ng m fact that it may
have been s¢g,ned and filed with the Bankmpicy court

$aatanw Canmmcr USA inc. dba Cv:vsler Capita! as serves for C€AP nam !m ué. is wif§ag m have me {wc
assumed by Debecm(s} axan men terms ax wmatade m this md!"mmon aga-mn f {m:} agree that by signing this
wmmmion mcmann 1 (we) am prosng newsmen to Samzméer Cammar USA Inc. dba tinqu Capi‘ral as sew§w~ far
C£;AP Auso fm Lcd. that she lease ns assumed b\ tdc homer pursuant m 11 U. S.€. §36${;:}[2){,3}.

iimil making us mmamd. pava should be umw rs weaker m the fnikmmg address:
Santander Conmmer USA ¥uc. mm flth Capihd as sam for C€A¥’* Aura wise
l,.nl.

P.G» Bax 9€)!2‘!8
I"t. Wor¢h. '¥'X‘Fém!
T¢) BE £¥F'ZCT!VE, ANY NO’UCE OF KD-C¥SS¥{)N MUST BE MA!LEB T{) m

 

 

 

YOLLOW¥NG ADBRES$:
Saman&tr Ooxxwmer USA ,lnc. dba Chryska' Capiml as adviser for CCA\’ m mae
Lté.
cia St¢:w arl. Ziimen & wagers 1441
2360 Panon Rd
Rascvi!k. MN $5'153
’R 5

§ § x "` _C`

, s-- .. ,,,A ,. X'\*'_’;, x al

ajan §-`amc_} {P:imod Namc of §§de

(,,»~? __ f de Swwan Bhna:¢s& wages iad

 

{Sigzw!um)g` g\(g‘ ‘SM/

QQ-_I}ggg_\gg if also maxim these dcnxs:

 

 

 

 

E;M Nnmc} {ancd Namz and '§'ra!c of indivichm§ Sigmag wi
Crcditm;')
{Sis'fwm) mae ofmditoraccammc:

Dasc: ___m r ¥2

,,.__..........

 

CaS€ 8-17-77510-38'[ DOC 28 Filed 02/28/18 Entet’ed 02/28/18 15247:02

1324!)().~\'\3 Al.T (Fot'ul 2400th ALT) (ll»"l$) 7
8-17`77510-£\§1/` XXXX8363 :' 52862

PART C: CER'I`IFICATION .BY DEBTOR’S ATTORNEY (I'F ANY).

[Tc) bejiled only if/he attorney represemed the debtor during the course qfnegoliating this
agreemenl.]

I hereby certify that (l_) this agreement represents a fully informed and voluntary agreement
by the debtor; (2) this agreement does not impose an undue hardship on the debtor or any dependent
of the debtor; and (3) l have fully advised the debtor of the legal effect and consequences of this
agreement and any default under this agreement

EZ([ C/1eck bo.\'. Ifapplicab/e and the creditor is nor ct C)'edil Union_.] A presumption ot`

undue hardship has been established with respect to this agreement In my opinion, however, the
debtor is able to make the required payment

'RO J. eds-le

   

Pn`nted Name of`_Debtor`s Attomey:

     
 

Signature of Debtor`s Attomey:

Date: 2 "ZZ 'i §

 

 

z
€
§
§

CaS€ 8-17-77510-&8'[ DOC 28 Filed 02/28/18 Entet’ed 02/28/18 15247:02

nims-ts six dwi sense mm ne m ft

s.;‘,'.'.t“mn~m R’Z’\.U'tét$ 52,35£
PART f): !)EBTOR‘S STATEMEN`!` iN SUPPOR`F {3¥ .REAYZ?¥RMA’H{)N AGREEMENT.

[Reari and mmp&z!e sections l and 2. §§ {f'!éic cwdimr :`.s'a szz'il !.;`ftimi and the debris is
mpmssmw` by we mmme_s'. read section 3. Sign we appwpria!e sigrwmne imei`$} ami sims
year signature fifme unaware sections 1 acid 2 gu_¢_£ymr fiscal/as less momk!y expenses sees
ms wine enough m make she wyman wider sizes m-a§rmaz:m agreemem. sims fire box m
zi:e top q!`page 1’ indicating "*Premmytzmz of{fmiue H¢zr¢ir§rip‘ " C»*deemz'se, check ins box w
me top Qx';mge f militating "J‘io i“resamption a{!fndse Hanisktp ’:?

Z. l beams tins reci‘fizmatioa agreement wilt not impose an undue hamm on nw
dependents or me i can afford to make the payments tm the mame debt b®ansc my montth
income twice home pe\ pies any other mm receivedj is § fliij 25 and my actual annum menme
expenses including munt:h}y~ pax mestre on post~bankmptcy 6ch md asher reaffirmation agreements
mmi 5 lL,Q'Z'] -fl__ leasing 3 1133 07 tn make the requ paman on this mmrmcd debs

§ undersLand that if my income less my mcadxly' expenses does net issue enough in make she
mathews this raa?§mzticn ag:ccmcm is presumed w he an im¢§mt hardship on me reid must he

reviewed by thc coan I¥owea er tisz memm§mon mm bn overcome &fi esq')§m tn the Mactzon Gf
the com h sw t an afford to make the \mw:s here
k b pa be b haas paz/wis w L(/v

male 604 maris an ~Hus ve hide _
` lUS¢ ms additianai page if needed for a fu.& explanation. )

Z. t received a copy drive Rcai§’mnminn `Disctossse Stasemenr in part A md a completed
and signed mallismatxon agreement.

""“‘d“`) {:b"= se
Signc\d: " ;:-`F-~»~w " /:/'/ };

§chtczr}

 

{`J'omi chlm, if isny_')

._.()g._s

j l,>"!ize creditor is o f.fredit ii‘)n'a)z and the de€)wr is mmsenwd by an wrowa
3, t believe this rcMmaiim agreement is in my financial mercer l m afford to make
die payinan cm ake reai`i'zmted. deep Ie.-<xived a copy othe Reat’iirmation Uisctosure Swn:ment in
Part A and completed and signed scat§mm§on aggeemenr.

S.igsxed: DO NOT SIGZ‘\’ HERH
{l)cbmr`}

.M_',~._

mg ?\§g§'¥` S¥GN M .W._
{Jeint liebth %F;my}

nasa news §tg-sz stagg W__

 

